Case 1:17-cv-20608-JJO Document 138 Entered on FLSD Docket 02/08/2019 Page 1 of 4
                                                                                & * z#'.
                                                                                       '
  FILEDBY '
          ?            o.c .                                                       /.'/7: /-               z-
                                                                                                            ,
                                                                                                            J/?-
             tl

      FE8 22 2219                          Sworn Afûdavit
    IHa    i--
            @Ft.Atj
                  .-Mi
                       bydeclrethefollowingstateunderoathandunderpenaltyofperjurythatthe
                     Aui

                  '1.OnMondayFebruary4,2019,theycalledmefrom mypreviousjobtoaskme ifIknew
                  ofapartialjudgmentagainstme,andifIhad notbeenassigned publicattorneysinceit
                  wasauthorizedon December14,2018.AssoonasIcould,Iwentto mypreviousjob
                  where Iwasgiven a copyofthe OrderforPartialJudgment.Thissituation hasm e
                  desperateformany reasons.
                  ThatIdo notthinkthatIshould be even involved in thislawsuit.Forthe sim ple factthatI
                  came to workin the com pany ofOscarM oving asan assistantfouryearsago when I
                  arrivedto thiscountry.
                  lhave more than a yearand a halfthat1do notworkin thiscom pany.Asa m atteroffact
                  1workdeliveringshipmentsforAmazonto supportmy humbly supportmyfamily.1am in
                  the United Statesfora politicalasylum because ofthe situation in my native country of
                  Venezuela.Now,Ifind myselfinvolved in acivilIawsuitagainstmy form erem ployer.
                  W hich Ihave tried comply asthe courtrequestuntilthe trialin the hopesthataIIthe
                  proofshowsthe truth thisbeing Ihave nothing to do with the defendantsonlythatI
                  worked w ith them fora shortperiod oftime.
                  lhave alwaysbeen willing to presentmy taxesand bank accounts in which you can see
                  thatIdo notearn orhave whatan em ployee wassupposed to earn atthe IevelthatI
                  wantto be held responsibleforin thiscase.
                  The courtgranted m e the perm ission ofa public attorney,which lhave neverbeen able
                  to obtain.
                  Imade an attem ptto notify thecourton December26,2018 thatwould representm yself
                  since Ineitherhave m oney to hire a Iawyerespecially forsomething thathasnothing to
                  do with m e and atthe sam e time Iwanted some time while waiting fora Iawyerto be
                  assigned to m e.
                   Dueto my Iim ited English and withthe help ofa translatorlhave been able to read that
                  the counterpartfiled a motion againstme fora partialruling which Ihave neverreceived
                  and Ihave neverbeen able to defend myselfand in the sam e waythey were ablegeta
                  partialjudgmentagainstme.
             8. Likewise,by thismeansIrequestthe reconsideration ofthis rulingagainstm e since Iwas
                notnotified aboutthe proceduresofthe same.
       Iam making thissworn declaration in Spanish with the help ofa translatorin hope thatIam given
       the opportunity to be assigned a Iawyerin orderto defend my rightsasthissituation may ultim atel
                                                                                                      y
       affectmy imm igration processbecause Iwould be forced to file a bankruptcy ifIam sound to be
       re ponsible forthismatter.



     A IN PRlic
              ifI
                vO
Case 1:17-cv-20608-JJO Document 138 Entered on FLSD Docket 02/08/2019 Page 2 of 4



    lVanessa Javier residing at8245 N W'l()8 A ve Doral-F1.33l78 hereby declare thatIhave
    translated thisdocumentto the bestofmyability astranslator.Certifying thatthe above
    documentisaccurateand precisely correctaccording to the originaldocum entsubm itted to me
    on the February 7,2019.G.


    V anessa Ja 1er

   State ofFLO RID A SS :
   Courity ofM iamiDade:

   Before m e,the undersigned notary public.thisday,personally,appeared H AN IN PRIETO to m e
   know n.who being duly sw orn according to law-deposes the above written affidavit.

   Subscribed and sworn to before m e this                  dav of               .20


         L
              /                    tary Publlc              M y Com m lsslon xplres.
              vk..
                 1($$'
                     :%. ..           # ntgavtjnrz
             J''...*-*'@..jy.
                            y          .
             i:C.        ?-  v   ovq
                           @ Fdpjq .   sjt
                                         vk gco  tj
                                                  #zao
             1$*
              .         .p3
                          7          .p:xmj  jrj6
              -
              *.:tJy-iMttw
                  : :...%
                          e axt
                              jetpajNtaa         ,pjptj
                                      ryptak j-jnorsrjjeo
Case 1:17-cv-20608-JJO Document 138 Entered on FLSD Docket 02/08/2019 Page 3 of 4



                                        DECLARACION JURADA
   Yo HaninPrieto,pormediodeIapresentedeclararelsiguienteestado bajojuramentoybajo penade
   perjurio queIossiguientes.
         EIdfa Iunes4 de febrero,2019 me llamaron de miempleo previo para preguntarme siyo sabia
         delfallo parcialen m icontra y que,sino me habian otorgado unabogado ptiblico ya que se m e
         autorizo eldia 14 de diciembre,2018. Encuanto pude pase porellugarde miprevio em pleo
         donde se me dio una copia de laordenparcial.Esta situaciön me tiene desesperado porm uchos
         motivos.
         Que yo no creo queyo deberiaestarnisiquiera involucrado en esta demanda.Porelsim ple
          hechoqueyovineatrabajarenIaempresadeIOscarMovingcomo ayudante hacecuatrosaKos
          cuando Ilegué a este pais.
      3. Yo tengomàsde una5oymedio quenotrabajoenestaempresa.Deporsitrabajo repartiendo
          enviosdeAmazon para sostenerm ifam ilia hum ildem ente ya que estoyen Iosestadosunidos
          porun asilo politico porIasituacién de m ipaisnataldeVenezuela.Aun asi,he tenido queverme
          învolucrado en una demanda civilcontra me antiguo em pleador.Lo cualhe tratado de seguir
          como pideIacorte hastaeljuicio conIaesperanzadequesalgaareducirIaverdadque notengo
          nadaquevercon 1osdemandadossoloquetrabajeconellosporuncorto plazodetiempo.
      4. Yo siem pre heestado dispuesto presentarmisim puestosycuentasbancariasen cualpodràn ver
         que no gano nitengo Io que se suponia que ganara un empleado alniveldeIcualse me quiere
         responsabilizara miporm otivo de esta demanda.
      5. La corte m e otorgo elperm iso de un abogado publico elcualnunca he Iogrado obtener.
      6. Hice un intento de avisarle a la corte eldia 26 de diciem bre,2018 que me estaria representando
         solo yaque nitengo dinero para contratarun abogado para al     go que no m e com pite a mi.Y a Ia
         vespoderganartiempo esperando que se me asignara un abogado.
         PorIo que puedo entenderen m ipoco inglésycon ayudade un traductorque Ia contra parte
         presento una mociön en m icontra para un falfo parcialelcualnunca he recibido ninunca he
         podido defenderme.Y de Ia m isma manera pudo conseguirun fallo parcial.
      8. Aligual,poreste m edio solicito Ia reconsideraciön de este fallo en m icontraya que yo nofui
         notificado sobre Ios procedim ientosde Iam isma.
       9. EstoyhaciendoestadeclaraciönjuradaenespasolconlaayudadeuntraductorconIa
          esperanza de tenerla oportunidad de que me asignen unabogado para defenderm isderechos,
          9aque esta situaciön puede afectarm iproceso de inm igraciön porque me verian obligadosa
          presentaruna solicitud de quiebra sise me encuentra de serresponsable de este asunto.


                   k
    HA IN PRIETO
Case 1:17-cv-20608-JJO Document 138 Entered on FLSD Docket 02/08/2019 Page 4 of 4




   Estado de Florida
   Condado M iam iDade
   Ante m i,Lisa Berm udez Notario Publico en este dia,personalm ente,se m e presentö com o H anin
        '
               uien,alhabersidodebidamentejuramentadodeacuerdoconlaley,hadepuestola
       e lara '6nJ ada crita m ésarriba.


               e   Otar        lk2
  t.l-
    -;).'
     k
     ,  1.
         )2i
           '4
            .,     l
                   -l
                    sA A.aaqvllgjrz
  1-
   1:.. -J:;lr
             -.
             .'
              t qycovvlsslc:jco 947ao
   l:, .-
  At
   -
   it4ov.
        ,r.
          4'
           #
             4 cypynrs;txc,mtsyj, aa
                                 ,
   ..                     *'         rs
   iI
   .




   M icom isi n v nce:
   (Notary Seal)
